                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 BARBARA BROWN, individually and as                )
 surviving wife of Harold Eugene Brown,            )
 Deceased,                                         )
                                                   )
               Plaintiff,                          )
                                                   )        No.   3:06-CV-240
 v.                                                )              (VARLAN/GUYTON)
                                                   )
 SUN HEALTHCARE GROUP, INC,                        )
 et al.,                                           )
                                                   )
               Defendants.                         )


                               MEMORANDUM OPINION

        This civil action is before the Court on the defendants’ Motion for Partial Dismissal

 [Doc. 10], Motion for Partial Judgment on Pleadings [Doc. 11], and Motion for Hearing to

 Present Oral Arguments [Doc. 27]. The defendants assert that plaintiff’s claims of common

 law negligence, negligence per se, and breach of contract should be dismissed pursuant to

 Fed. R. Civ. P. 12(b)(6). The plaintiff opposes the defendants’ motions. [Docs. 18 and 24].

 The Court has carefully considered the motions, as well as the entire record, in light of the

 applicable law. For the reasons set forth herein, the defendants’ motion to dismiss [Doc. 10]

 will be GRANTED in part and DENIED in part and defendants’ motion for partial

 judgment on the pleadings [Doc. 11] and motion for oral arguments [Doc. 27] will be

 DENIED.




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        I.     Introduction

        Plaintiff’s decedent, Harold Brown (“Mr. Brown”), was admitted to the Marshall C.

 Voss Rehabilitation Center (“Voss”), a licensed nursing home, in September 2002, and

 resided there until August 2005. [Doc. 1 at ¶ 25]. While staying at Voss, Mr. Brown

 developed severe decubitus ulcers and suffered from dehydration and malnutrition, all

 because of an alleged failure on the part of the staff of Voss to properly care for Mr. Brown.

 [Id. at ¶¶ 26 - 28]. As a result of these injuries, Mr. Brown required medical attention and

 endured great pain and hardship. [Id. at ¶ 29]. It appears that these injuries eventually

 resulted in Mr. Brown’s death. [Id at ¶¶ 39, 45].

        On June 15, 2006, plaintiff, the surviving wife of Mr. Brown, filed the instant action,

 suing under theories of medical malpractice, negligence per se, and third party beneficiary

 breach of contract. On August 23, 2006, the defendants filed their answers, generally

 denying the plaintiff’s allegations. On August 24, 2006, the defendants filed their motion

 to dismiss [Doc. 10], arguing that the plaintiff’s claims of common law negligence,

 negligence per se, and breach of contract should be dismissed pursuant to Fed. R. Civ. P.

 12(b)(6). On October 3, 2006, the defendants filed their motion for partial judgment on the

 pleadings [Doc. 11], arguing that the plaintiff had failed to respond to the motion to dismiss,

 thereby waiving any argument, and that the motion to dismiss should be granted. The

 plaintiff was subsequently granted an extension of time to respond to the motion to dismiss

 [Doc. 16], and the matter is now ready for the Court’s consideration.




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 II.    Motion for Partial Dismissal

        A.      Standard of Review

        The defendants filed their motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). A

 motion to dismiss for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6) should not

 be granted “unless it appears beyond a doubt that the plaintiff can prove no set of facts in

 support of his claim that would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46

 (1957). All well-pleaded allegations must be taken as true and be construed most favorably

 toward the non-movant. Trzebuckowski v. City of Cleveland, 319 F.3d 853, 855 (6th Cir.

 2003). While a court may not grant a Rule 12(b)(6) motion based on disbelief of a

 complaint’s factual allegations, Lawler v. Marshall, 898 F.2d 1196, 1199 (6th Cir. 1990), the

 court “need not accept as true legal conclusions or unwarranted factual inferences.” Morgan

 v. Church’s Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987). Consequently, a complaint will

 not be dismissed pursuant to Rule 12(b)(6) unless there is no law to support the claims made,

 the facts alleged are insufficient to state a claim, or there is an insurmountable bar on the face

 of the complaint.

        B.      Plaintiff’s Negligence Per Se Claims

        The defendants argue that the plaintiff’s common law negligence and negligence per

 se claims (“negligence claims”) should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) for

 failure to state a claim for which relief can be granted. Specifically, the defendants contend

 that the state and federal regulations the plaintiff relies upon do not create an independent

 cause of action, that the negligence claims more properly fall under the aegis of the

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 Tennessee Medical Malpractice Act (“TMMA”), Tenn. Code Ann. §§ 29-26-115 to 120, and

 that the TMMA establishes the burden of proof the plaintiff must meet in this case. The

 plaintiff argues that state and federal regulations1 establish a minimum standard of care for

 nursing homes operating in Tennessee and that a breach of that minimum standard of care

 can support her negligence claims.

        The Court notes that a District Court in the Northern District of Georgia addressed a

 similar issue in the case of Brogdon v. National Healthcare Corp., 103 F. Supp. 2d 1322

 (N.D. Ga. 2000). The Brogdon court, citing to the decisions of several other federal courts,

 found that Congress did not intend to create a private cause of action against nursing homes

 when it passed the Medicare and Medicaid acts. Id. at 1330-31; see also Wheat v. Mass, 994

 F.2d 273, 276 (5th Cir. 1993); Stewart v. Bernstein, 769 F.2d 1088, 1092-93 (5th Cir. 1985);

 Estate of Ayres v. Beaver, 48 F. Supp. 2d 1335, 1339-40 (M.D. Fla. 1999); Nichols v. St.

 Luke Ctr., 800 F. Supp. 1564, 1568 (S.D. Ohio 1992); Chalfin v. Beverly Enters., Inc., 741

 F. Supp. 1162, 1170-71 (E.D. Pa. 1989); Fuzie v. Manor Care, Inc., 461 F. Supp. 689, 697

 (N.D. Ohio 1977); but see Roberson v. Wood, 464 F. Supp. 983, 988-89 (E.D. Ill. 1979).

        The Court further notes that the Tennessee Court of Appeals also recently addressed

 a similar issue in Conley v. Life Care Centers of America, Inc., No. M2004-00270-COA-R3-

 CV, 2007 Tenn. App. LEXIS 13 (Tenn. Ct. App. Jan. 4, 2007), finding that a plaintiff could



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         The plaintiff relies on the following statutory and regulatory sources in support of her
 negligence claims: the Nursing Home Resident’s Rights Act, Tenn. Code Ann. § 68-11-901, et seq.;
 Rules of the Tennessee Department of Health, Standards for Nursing Homes, Tenn. Comp. R. &
 Regs. 1200-8-6-.01, et seq.; and 42 CFR 483.25.

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 not state a claim for negligence per se under the federal regulations found in 42 C.F.R. § 483.

 Id. at *45. The Conley court, also citing to several other courts, held that “[t]he federal

 regulations are simply too vague and general to constitute a standard of care by which a jury,

 or for that matter a court, can effectively judge the acts or omissions of health care providers

 and nursing home operators.” Id. at *47; see also Smith v. Bowen, 656 F. Supp. 1093, 1097

 (D. Colo. 1987); Makas v. Hillhaven, Inc., 589 F. Supp. 736, 742 (M.D.N.C. 1984); Stogsdill

 v. Manor Convalescent Home, Inc., 343 N.E.2d 589, 611-612 (Ill. 1976). The Conley court

 further found that the plaintiff’s negligence per se claim fell under the purview of the

 TMMA, that the plaintiff’s would be held to the local standard of care mandated by the

 TMMA, and that the plaintiff’s attempt to rely upon the federal regulations to establish a

 “national standard of care” must fail. Conley, 2007 Tenn. App. LEXIS 13, at *49.

        The Court agrees with the reasoning of Brogdon and Conley and finds that Congress

 did not intend to create a private cause of action against nursing homes under the Medicare

 and Medicaid Acts. Similarly, the Court finds that the Tennessee Legislature did not intend

 to create a private cause of action under the Nursing Home Resident’s Rights Act, nor under

 the regulations governing nursing homes in Tennessee. See Tenn. Code Ann. § 68-11-901;

 Tenn. Comp. R. & Regs. 1200-8-6-.01. In the absence of a specific cause of action under

 federal or state statutes or regulations, the Court must next determine if this action falls under

 the purview of the TMMA.

        In considering whether the plaintiff’s action falls under the TMMA, the Court again

 finds Conley persuasive. The Conley court stated that “a medical malpractice action is an

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 action for damages for personal injury or death as a result of any medical malpractice by a

 health care provider, whether based upon tort or contract law.” Conley, 2007 Tenn. App.

 LEXIS 13, at *32-33 (citations omitted). The Conley court went on to say that:

               [i]n medical malpractice cases, courts look to whether the
               decision, act, or omission complained of required the assessment
               of a patient’s medical condition and whether the decision, act,
               or omission required a decision based upon medical science,
               specialized training, or skill. Where causes of action involve
               complaints about acts or omissions involving medical science
               and expertise, they fall within the scope of the [TMMA]; where
               they do not involve such training and knowledge, they generally
               sound in ordinary negligence.

 Id. at *34. In the instant case, the plaintiff has alleged that Mr. Brown suffered injury

 because of a failure on the part of the staff of Voss to properly position Mr. Brown, and that

 Mr. Brown also suffered malnutrition and dehydration because of negligence on the part of

 Voss’s staff. The Court finds that the decisions relating to the care of Mr. Brown required

 medical knowledge, and thus fall within the purview of the TMMA. Because the acts fall

 under the purview of the TMMA, the plaintiff’s negligence per se claims must fail, as there

 can be no presumption of negligence under the TMMA unless the plaintiff establishes res

 ipsa loquitor, which she has not done. See Tenn. Code Ann. § 29-26-115(c). Accordingly,

 the defendants’ motion to dismiss will be granted with respect to the negligence claims.

        C.     Breach of Contract Claim

        The defendants also argue the plaintiff’s third party beneficiary breach of contract

 claim should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim for

 which relief can be granted. Specifically, the defendants contend that there is no private

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 cause of action under the Medicaid Act and that a breach of contract claim is traditionally a

 matter of state law and does not present a federal question. The plaintiff contends that the

 law clearly supports a third party breach of contract claim and that such a claim invokes

 federal question subject matter jurisdiction.

        The Court notes that the issue of a third party breach of contract claim under the

 Medicare and Medicaid Acts was also addressed in Brogdon, and the Court again finds that

 decision useful in deciding this matter. In addressing a similar third party beneficiary breach

 of contract claim against a nursing home, the Brogdon court turned to Miree v. DeKalb

 County, 433 U.S. 25 (1977). In Miree, the victims of an airline crash brought a diversity

 action against the owner of an airport, claiming that they were third party beneficiaries of a

 contract between the airport and the Federal Aviation Administration. Id. at 26-27. The

 Miree Court held that whether the plaintiffs were third party beneficiaries was a matter of

 state, not federal law. Id. at 29-33. In further summarizing Miree, the Brogdon court stated

 that

               [t]he Supreme Court noted in Miree that only “the rights of
               private litigants [were] at issue.” The Court also acknowledged
               the federal interest in regulation of air safety, but found that
               interest insufficient to require application of federal common
               law. Moreover, the Court noted that the plaintiff’s claims
               “involve[] this federal interest only insofar as such lawsuits
               might be thought to advance federal aviation policy by inducing
               compliance with FAA safety precautions. Finally, the Supreme
               Court concluded that the absence of any indication that
               Congress intended to displace state law supported its holding
               that state law governed the plaintiffs’ entitlement to sue as third
               party beneficiaries.”


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 Brogdon, 103 F. Supp. 2d at 1334 (citing Miree, 433 U.S. at 30, 32).

        The Brogdon court then went on to hold that

                [l]ike in Miree, only private litigants are involved in this lawsuit.
                The [c]ourt also has found no indication that Congress intended
                to displace state law in this area. Lastly, the [c]ourt finds that
                [p]laintiffs’ claims “will have no direct affect upon the United
                States or its Treasury,” and implicate federal interests “only
                insofar as such lawsuits might be thought to advance federal
                . . . policy by inducing compliance” with Medicaid participation
                requirements. For these reasons, state law governs the issue
                whether [p]laintiffs may sue as third party beneficiaries.

 Id. at 1334 (citing Miree, 433 U.S. at 32). Finally, in denying a motion to dismiss the third

 party breach of contract claim, the Brogdon court held that

                the absence of an implied cause of action under the Medicaid
                and Medicare Acts does not determine whether [p]laintiffs may
                sue as third party beneficiaries pursuant to the contract at issue.
                The question is whether [p]laintiffs may sue as third party
                beneficiaries under the contract, not whether Congress intended
                to create a private cause of action in a statute.

 Id. (citations omitted).

        Using Miree and Brogdon as a guide, the Court finds that there are only private

 litigants involved in this lawsuit; that there is no indication that Congress intended to displace

 state law in this area; and that the plaintiff’s claims in the instant action “will have no direct

 affect upon the United States or its Treasury,” and will implicate federal interests “only

 insofar as such lawsuits might be thought to advance federal . . . policy by inducing

 compliance” with Medicare and Medicaid participation requirements. Miree, 433 U.S. at 29,

 32; Brogdon, 103 F.Supp. 2d at 1334. Therefore, the Court finds that the plaintiff may state


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 a claim for a third party breach of contract. Additionally, the Court finds that this claim will

 be governed by Tennessee law.

        Accordingly, the Court will deny the defendants’ motion to dismiss with respect to

 the third party breach of contract claim. However, while the plaintiff may choose to pursue

 a contract theory in this case, the third party breach of contract claim is governed by

 Tennessee law. Given that the Court has found that the questions at issue in this case involve

 medical malpractice, plaintiff’s third party breach of contract claim will fall within the scope

 of the TMMA. See Conley, 2007 Tenn. App. LEXIS 13, at *32 (holding that “a medical

 malpractice action is an action for damages for personal injury or death as a result of any

 medical malpractice by a health care provider, whether based upon tort or contract law”).

 Therefore, the plaintiff must satisfy all of the requirements of the TMMA in order to succeed

 in her third party beneficiary breach of contract claim. See Tenn. Code Ann. §§ 29-26-115

 to 120.

 III.      Motion for Partial Judgment on Pleadings

        The defendants have also moved for partial judgment on the pleadings [Doc. 11],

 based upon the plaintiff’s delay in responding to the defendants’ motion for partial dismissal.

 In light of the difficulties plaintiff’s counsel experienced with the Court’s electronic filing

 system [See Doc. 12], the Court finds that the plaintiff’s delay was excusable. Accordingly,

 the defendants’ motion for partial judgment on the pleadings [Doc. 11] will be denied.




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IV.     Motion for Hearing to Present Oral Argument

        Finally, the defendants have also requested oral argument on this matter [Doc. 27].

Based upon the extensive briefing of this matter, the Court does not feel that oral arguments

would be of further benefit. Accordingly, the defendants’ motion for oral argument [Doc.

27] will be denied.

V.      Conclusion

        For the reasons stated herein, the defendants’ motion to dismiss [Doc. 10] will be

GRANTED in part, such that plaintiff’s negligence claims will be dismissed, and DENIED

in part with respect to plaintiff’s third party breach of contract claim. Furthermore, the

defendant’s motion for partial judgment on the pleadings [Doc. 11] and motion for oral

arguments [Doc. 27] will be DENIED. Therefore, this case will proceed toward trial on

plaintiff’s medical malpractice and third party beneficiary breach of contract claims against

defendants.

        Order accordingly.


                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




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